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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

 

Eastern District of Wisconsin

 

 

 

United States of America )
V. )
-alp m WV )
Stephen Ruffin ) Case No. | q 1 | V J
DOB: xx/xx/1988
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of | August 13 and August 14,2016 __ in the county of Milwaukee in the
Eastern District of Wisconsin , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 2101(a)(2) Use of an interstate facility to organize, promote, encourage, participate in, or

carry on a riot
18 U.S.C. § 844(i) Malicious use of fire

18 U.S.C. § 844(h)(1) Use of fire or explosives to commit any felony prosecutable in federal court

This criminal complaint is based on these facts:

See Attached Affidavit

@ Continued on the attached sheet. Lif

JS A “Complainaht’s signature

SA Ryan Arnold, ATF
Printed name and title

 

Sworn to before me and signed in my presence.

F YL UJ Pp ’s sigrbture

City and state: Milwaukee, Wisconsin Honorable Nancy Joseph, Magistrate Judge
Printed name and title

 

 

 

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WISCONSIN

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT AND ARREST WARRANT

1. I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and
Explosives (ATF), and have been an agent since April 2014. As an ATF Special Agent, I
have participated in numerous investigations regarding unlawful possession of firearms
by convicted felons, unlawful use of firearms, firearms trafficking, and arson. Prior to my
employment with ATF, I was a Special Agent with the United States Secret Service (USSS)
for approximately 5 years. My duties included providing and planning dignitary
protection, drafting and executing federal search warrants, and investigating organized
fraud networks, counterfeit currency operations, and other financial crimes. Previous to
my tenure with the USSS, I served as a police officer with the Chicago Police Department
(CPD). During part of my career as a CPD Officer, I was assigned to the Organized Crime
Division-Gang Enforcement Unit.

2. As a law enforcement officer for the United States, am empowered by law
to conduct investigations of, and to make arrests for, federal felony offenses.

3. This affidavit is being submitted for the limited purpose of a criminal

complaint for Stephen Ruffin (DOB: 1988). Because this affidavit is being submitted for

 

the limited purpose of establishing probable cause for a criminal complaint, I have not
included every detail of this investigation. Rather, I have set forth only those facts

necessary to establish probable cause. The information contained in this Affidavit is

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based upon my personal knowledge, my review of documents and other evidence, and
my conversations with other law enforcement officers.

4. I respectfully submit that there is probable cause to believe that Stephen
Ruffin has committed the crimes of: Rioting in violation of 18 U.S.C. § 2101(a)(2) (use of
an interstate facility to organize, promote, encourage, participate in, or carry ona riot);
Arson in violation of 18 U.S.C. § 844(i) (malicious use of fire to damage or destroy a
building used in interstate commerce); and Arson in Connection with any Federal
Felony in violation of 18 U.S.C. § 844(h)(1) (use of fire or explosives to commit any felony
prosecutable in federal court).

5. The victim in this case is Big Jim’s Liquor store (Big Jim’s) located on 2161
W. Hopkins St., Milwaukee, Wisconsin. At all times relevant to this complaint, Big Jim’s
sold articles and commodities in commerce and was engaged in an activity affecting
interstate commerce, and therefore, was operating in a facility used in interstate

commerce.

PROBABLE CAUSE

Case Background
6. On August 13 and 14, 2016, Milwaukee experienced widespread rioting and

looting in the area surrounding Sherman Park. The rioting and looting followed a
Milwaukee Police Officer involved shooting that occurred at the intersection of N. 44 St.
and W. Auer Ave. on August 13, 2016.

7. During the rioting and looting, individuals set fires at the following seven

commercial businesses: BP Gas Station, 3114 N. Sherman Blvd., Milwaukee; O’Reilly’s

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Auto Parts, 3405 W. Fond Du Lac Ave., Milwaukee; Jet Beauty, 3501 W. Burleigh St.,
Milwaukee; BMO Harris Bank, 3536 W. Fond Du Lac Ave., Milwaukee; PJ’s Market, 3079
N. 21st St., Milwaukee; MJM Liquor, 2229 W. Fond Du Lac Ave.; Milwaukee; and Big
jim’s Liquor, 2161 N. Hopkins Ave., Milwaukee.

8. On August 14, 2016 at approximately 1:54 a.m., the arson occurred at Big
Jim’s.
August 13 Big Jim’s Surveillance Footage

9. Big Jim’s surveillance footage showed that on August 13, 2016 at
approximately 8:14 p.m., K.E. and Stephen Ruffin entered Big Jim’s to purchase alcohol.
Ruffin, who has a shaved head, was wearing an orange shirt with “Safety First” written
on the back, khaki cargo shorts, and blue Adidas shoes with white stripes.

August 14 Big Jim’s Surveillance Footage

10. Big Jim’s surveillance footage from the rear of the business showed that on
August 14, 2016 at approximately 12:17 a.m., a black male with a shaved head, who was

wearing an orange shirt with “Safety First” written on the back, khaki cargo shorts, and

 

blue Adidas shoes with white stripes arrived at the rear entry door to Big Jim’s. This
person matched Ruffin’s body build and clothing from the August 13 Big Jim’s
surveillance footage. Ruffin is observed on this surveillance footage carrying bolt cutters.
Ruffin is joined by two additional unidentified men. Ruffin and the two unidentified men
made numerous attempts to breach the rear entry door to Big Jim’s. Ruffin appeared to

use his cellphone during this time, which corroborates Ruffin’s cellphone data showing

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him in the area at this time. Unable to gain entry, Ruffin and the two unidentified men
departed at approximately 12:24 a.m. _

11. At approximately 1:48 a.m., two black males again approached the rear
entry to Big Jim’s. One man was wearing khaki cargo shorts, blue Adidas shoes with
white stripes, and a dark colored hooded sweatshirt. This man covered his face with what
appeared to be an orange shirt that he was wearing under the sweatshirt. This orange
shirt was consistent with the orange “Safety First” shirt worn by Ruffin. This person’s
body build and clothing matched Ruffin’s appearance as seen in the previous Big Jim’s
surveillance footage from August 13 and 14. The other man is unidentified at this time.

12. At approximately 1:49 a.m., Ruffin is observed with what appears to be a
container of charcoal lighter fluid. The unidentified man is observed a short time later
spraying the contents of this container around the business’ air conditioning unit, which
was next to Big Jim’s rear entry door.

13. At approximately 1:54 a.m., Ruffin attempted to breach the rear entry door,

 

and he was again in possession of what appears to be a charcoal lighter fluid container.
Moments later, Ruffin and the unidentified man ignited an item that appeared to be paper
and placed it near Big Jim’s rear entry door. A fire began to spread on the exterior of the
building. Ruffin was observed placing a plastic container onto the fire.

14. At approximately 1:55 a.m., Ruffin and the unidentified man left the area
while the fire continued to burn near Big Jim’s rear entry door. The arson caused

structural damage to the building and to the exterior of Big Jim’s.

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The Identification of Stephen Ruffin

15. | ATF Special Agents interviewed K.E. who verified that he was with Ruffin
as seen in the August 13 Big Jim’s surveillance footage. K.E. stated that Ruffin was the
person with the shaved head who was wearing an orange shirt with “Safety First” written
on the back, khaki cargo shorts, and blue Adidas shoes with white stripes.

16. SOIL-1 watched the August 13 Big Jim’s surveillance footage, and SOI-1
identified Ruffin as the man with the shaved head who was wearing an orange shirt with
“Safety First” written on the back, khaki cargo shorts, and blue Adidas shoes with white
stripes.

17. SOJ-2 stated that he/she has known Ruffin for several years. SOI-2
identified Ruffin and K.E. in the August 13 Big Jim’s surveillance footage. SOI-2 was also
able to identify Ruffin in the August 14 Big Jim’s surveillance footage, which showed the
arson. SOI-2 identified Ruffin as the man with the shaved head who was wearing an

orange shirt with “Safety First” written on the back, khaki cargo shorts, and blue Adidas

 

shoes with white stripes and as the man in the dark colored hooded sweatshirt.
18. SOI-3 stated that he/she has known Ruffin for many years. SOI-3 identified

Ruffin from the August 13 Big Jim’s surveillance footage. SOI-3 identified Ruffin as the

 

man with the shaved head who was wearing an orange shirt with “Safety First” written
on the back, khaki cargo shorts, and blue Adidas shoes with white stripes.

19. During the search of the Ruffin’s residence, law enforcement located
Ruffin’s cellphone and clothing, which matched the clothing of the Big Jim’s arsonist:
khaki cargo shorts and blue Adidas shoes with white stripes.

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Search of Ruffin’s Cellphone

20. An analysis of Ruffin’s cellphone records was conducted to obtain
information regarding Ruffin’s cellphone usage. The cellphone records showed that
Ruffin’s cellphone was used in the area of Big Jim’s several times around the time of the
arson on August 14.

21. Furthermore, text messages obtained from Ruffin’s cellphone showed that
on August 14 he was participating in rioting around Milwaukee. The following are text
messages found on Ruffin’s cellphone from August 14. At 12:06 a.m., Ruffin received a
text message asking if he was at home. At 12:08 a.m., Ruffin responded to that text
message by writing, “I’m rioting with em.” At 1:21 a.m., Ruffin received a text message
asking why he had not called. At 1:22 a.m., Ruffin responded to that text message by
writing, “It’s a riot out here.” The Big Jim’s arson occurred at approximately 1:54 a.m.

22. On September 13, 2016, ATF forensic analysts examined samples collected

 

from the arson. Analysts detected a medium to heavy petroleum distillate, which is
consistent with the use of charcoal lighter fluid.

23. Based on the foregoing, I submit that there is probable cause to issue a
criminal complaint and arrest warrant for Stephen Ruffin, charging him with violations
of Rioting in violation of 18 U.S.C. § 2101(a)(2) (use of an interstate facility to organize,
promote, encourage, participate in, or carry on a riot); Arson in violation of 18 U.S.C.
§ 844(i) (malicious use of fire to damage or destroy a building used in interstate
commerce); and Arson in Connection with any Federal Felony in violation of 18 U.S.C.
§ 844(h)(1) (use of fire or explosives to commit any felony prosecutable in federal court).

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